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                                                                                  VIA CM/ECF



                                                                          November 6, 2020

U.S. Magistrate Judge Robert W. Lehrburger
United States District Court
Southern District of New York
500 Pearl Street, Room 1960
New York, New York 10007

        Re:       Mercer v. Bay Watch Resort and Marina, LLC, Case No.: 1:20-cv-7069-LTS

Dear Magistrate Judge Lehrburger:

        This office represents the Plaintiff Stacey Mercer (“Plaintiff”) in connection with the above-
referenced action. As previously reported, the above referenced action has been settled and a
settlement agreement has been drafted and provided to counsel for the Defendant. Currently,
Plaintiff is waiting to receive comments to the agreement from Defendant’s counsel. Respectfully,
we are requesting together with counsel for the Defendant, an additional stay of all deadlines and
conferences, for thirty (30) days so that the parties can finalize the settlement agreement.

        We thank the Court for your time and consideration in this matter.

                                                                 Respectfully submitted,

                                                                 BASHIAN & PAPANTONIOU, P.C.

                                                                 /s/ Erik M. Bashian
                                                                 ________________________
                                                                 Erik M. Bashian, Esq.
                               11/6/2020


cc:     Jennifer Arditi, Esq. (via email only)
                                                              11/6/2020




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